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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
______________________________________
NOALA FRITZ, et al.,                   )
                                       )
       Plaintiffs,                     )
                                       )
        v.                             ) Civil Action No. 15-456 (RDM)
                                       )
ISLAMIC REPUBLIC OF IRAN, et al.,      )
                                       )
      Defendants.                      )
______________________________________)

               REPORT AND RECOMMENDATION OF SPECIAL MASTER
                    REGARDING COMPENSATORY DAMAGES

       This case arises out of the kidnappings, torture, and murders of U.S. service-members

Jacob Fritz, Johnathan Bryan Chism and Shawn Falter (“Karbala Direct Victims”) near Karbala,

Iraq on January 20, 2007, and the kidnapping of U.S. service-member Ahmed Al-Taie (“Baghdad

Direct Victim”) (collectively, the “Direct Victims”) in Baghdad, Iraq on October 23, 2006 and his

subsequent torture and murder. The Estates of Jacob Fritz, Johnathan Bryan Chism, Shawn Falter,

and the Estate of Ahmed Al-Taie seek economic damages to compensate for the Direct Victims’

lost earnings capacity and pain and suffering damages for the Direct Victims’ abduction, torture,

and murder. Family members of the Direct Victims – Jacob Fritz’s mother, Noala Fritz, the estate

of his father Lyle Fritz (who died following the events leading to this civil action), and his brothers,

Daniel Fritz and Ethan Fritz; Johnathan Bryan Chism’s mother, Elizabeth Chism; his father, Danny

Chism, his step-mother, Vanessa Chism, and his sister, Julie Chism; Shawn Falter’s father, Russell

J. Falter, his mother Linda Falter, his sister, Marjorie Falter, his brothers Russell C. Falter, John

Sackett and Jason Sackett, his step-sister, Marsha Novak; and his step-brothers, David Lucas, Tim

Lucas, and Andrew Lucas; and Ahmed Al-Taie’s father, Kousay Al-Taie, his mother Nawal Al-

Taie, and his brother Hathal Taie (collectively, “Family Members”) – seek solatium damages
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relating to the deaths of the Direct Victims. 1

        By Order dated August 1, 2018, the Court appointed the undersigned as Special Master to

provide a report and recommendation on the imposition of compensatory damages with respect to

the U.S. National Plaintiffs. (Dkt. 87). The Order outlines the required responsibilities of the

Special Master. In fulfilling these responsibilities, I have reviewed relevant pleadings, the Court’s

order, the sworn testimony provided by the Plaintiffs, video depositions of Plaintiffs, testimony

and autopsy reports regarding the nature of injuries and abuse suffered by the Direct Victims and

the manner of their deaths, trial transcripts, the Court’s Memorandum Opinion of August 2, 2018,

and applicable case law. My Report and Recommendation is based on the above-described

information, evidence, and applicable case law.

                                         BRIEF OVERVIEW

        This case was brought under the state-sponsored terrorism exception to the Foreign

Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A(a). The Court has found that the estates

of the four Direct Victims and the U.S. National Plaintiffs (the Family Members) are entitled to

relief under this federal cause of action. Memorandum Opinion (Dkt. 89) at 57. This report details

the evidence relevant to damages and provides recommendations regarding the amount of

compensatory damages for the relevant Plaintiffs.

        Plaintiffs have provided extensive and detailed evidence of the kidnappings, torture and

deaths of the Direct Victims and have further provided detailed testimony of the Family Members

describing the events, their relationship with the decedents, and the effect on their lives of the




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   Ahmed Al-Taie’s brother, plaintiff Bashar Al-Taie, also seeks damages. Pursuant to the Court’s August
1, 2018 Order appointing me as Special Master (Dkt. 87), I am to consider all issues related to compensatory
damages as to each claim made by Plaintiffs, with the exception of Plaintiff Bashar Al-Taie. Id. at 1.



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  deaths of the Direct Victims. The evidence demonstrates that in each case, the Direct Victim’s

  death was not instantaneous but was preceded by captivity, torture, and circumstances designed to

  generate terror and fear in the victims. Each of the Family Members who testified was credible

  and articulate. In each case the testimony demonstrates ongoing grief, loss of companionship,

  emotional trauma and loss. The testimony of different members of each family is corroborated by

  the testimony of other members of the same family. As explained in more detail below, the

  evidence provides ample basis for an award of both economic and non-economic damages for the

  estates of each of the Direct Victims and solatium damages for each of the Family Members.

                                         FACTUAL FINDINGS

I.          KARBALA DIRECT VICTIMS

            Three of the Direct Victims – First Lieutenant Jacob Fritz, Private First Class Shawn Falter,

  and Specialist Johnathan Bryan Chism – were kidnapped from their assigned base, the Karbala

  Provincial Joint Coordination Center (“PJCC”) in Iraq, on January 20, 2007. (To be clear, the

  Direct Victims were not engaged in a combat situation.). The record shows that they were the

  victims of a well-planned attack and were taken alive and transported together from the site of the

     abduction. The United States Army’s investigation determined that Jacob Fritz, Shawn Falter, and

     Bryan Chism were abducted, handcuffed, and ultimately executed. Testimony of Col. W. Rabena

     (ret.), April 11, 2018, 85:1-86:3; 87:18-22. Fritz, Chism, and Falter each suffered numerous

     gunshot wounds and blunt force injuries, which were sustained while they were still alive.

     Memorandum Opinion (Dkt. 89) at 25. Each victim was subjected to severe beatings at the hands

     of the captors, before being executed while handcuffed. Id. at 25-28. Expert testimony and

     autopsy documents demonstrate that Fritz died of multiple gunshot wounds and that he was shot

     and beaten while alive and that the wounds he suffered while alive would have caused severe pain.



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   Memorandum Opinion (Dkt. 89) at 26-27; Testimony of C. Mallak, Evidentiary Hearing, April

   12, 2018, 196:3-197:1; 203:6-206:9 (Dkt. 53). The evidence shows that Fritz was conscious while

   wounded, suffered a non-fatal gunshot wound initially that would have caused extreme pain, and

   that he wrote his name in blood on the inside of the vehicle in which he was transported.

   Memorandum Opinion (Dkt. 89) at 26; Testimony of C. Mallak, Evidentiary Hearing, April 11,

   2018, 84:4-16 (Dkt. 52).

          Bryan Chism also died from multiple gunshot wounds and he also sustained contusions

   and injuries consistent with being beaten and kicked before death and while conscious.

   Memorandum Opinion (Dkt. 89) at 27. One of the gunshot wounds caused him to asphyxiate.

   Testimony of C. Mallak, Evidentiary Hearing, April 12, 2018, 215:23-216:18 (Dkt. 53). These

   wounds would have caused severe pain according to the expert testimony. Id. at 218:4-219:5.

   Falter also died from multiple gunshot wounds. Shawn Falter received a severe wound during the

   abduction but the evidence confirms that he was alive at that time and that he suffered blunt force

   trauma to the head and various contusions and hemorrhaging around his face, neck, torso and

   extremities while alive.   Memorandum Opinion (Dkt. 89) at 22; Testimony of C. Mallak,

   Evidentiary Hearing, April 13, 2018, 25:14-26:8, 28:9-29:21 (Dkt. 54). These wounds also would

   have caused severe pain prior to death. Testimony of C. Mallak, Evidentiary Hearing, April 13,

   2018, 30:3-31:15 (Dkt. 54).

II.       AL-TAIE ABDUCTION

          On October 23, 2006, Staff Sergeant Ahmed Al-Taie was serving in Iraq as a translator for

   the Provincial Reconstruction Team. He was abducted while visiting family in Iraq by members

   of JAM Jaysh al-Mahdi (“JAM”). Memorandum Opinion (Dkt. 89) at 12, 33. He was later turned

   over to Asai’b Ahl al-Haq (“AAH”) (also known as “the Khazali Network”) Id. at 34; Evidentiary



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Hearing, April 11, 2018, (Dkt. 52) 213:7-9. AAH sought to exchange Ahmed for the release of

certain prisoners. On February 14, 2007, an AAH group released a “proof of life” video. A witness

testified that he learned that Al-Taie had been killed during conversations in June or September,

2009. Declaration of               , Ex. 76,                          , Evidentiary Hearing, April

13, 2018, Sealed Proceedings 13:14-15:24. Ahmed’s remains were provided to U.S. forces on

February 22, 2012. Memorandum Opinion (Dkt. 89) at 35. Ahmed’s family did not know whether

he was alive or dead until the remains were released in 2012. K. Al-Taie Dep., April 2, 2018,

21:5-17 (Dkt. 80-6). According to the testimony of Dr. Mallak, Ahmed was probably killed within

one to three years of the date his remains were returned – which means he was killed between

February 22, 2009 and February 22, 2011. Testimony of C. Mallak, Evidentiary Hearing, April

13, 2018, 37:18-38:1 (Dkt. 54). The autopsy shows that death was caused by gunshot wounds –

and that one of the wounds was consistent with an execution. Memorandum Opinion (Dkt. 89) at

35. The Declaration of              , a witness, confirms that Ahmed was beaten repeatedly while

held a captive. Declaration of             , Ex. 76,                        , Evidentiary Hearing,

April 13, 2018, Sealed Proceedings 12:15-21). The Court found that Ahmed suffered severe and

persistent pain during his captivity. Memorandum Opinion (Dkt. 89) at 35.

       The evidence presented thus confirms that each of the Direct Victims was kept alive for a

period of time during captivity, that each suffered grievous injuries including persistent beatings

and gunshot wounds during their captivity, and that each was eventually murdered by their captors.

It is also clear that each of the Direct Victims likely did not know how long the beatings and

captivity would last, and also knew and understood the likelihood that they would be killed by

their captors. The fact that one of the Direct Victims wrote his name in blood on the inside of the

vehicle indicates that the Direct Victims feared that they would be killed and that no-one would



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       know their fate. The Court has found that the nature, severity, and circumstances of the beatings

       “demonstrated an intent to cause extreme pain and suffering.” Memorandum Opinion (Dkt. 89),

       at 46-47. The Court further found that the “gratuitousness, intensity and inhumanity of the assault

       permits a finding of torture…” Id. at 47.

III.          FAMILY MEMBERS

              All of the individual Family Members have provided detailed testimony about their

       experience, their relationship with the Direct Victims, their emotional injuries, and the effect of

       the kidnappings, torture, and murders of the Direct Victims on their daily lives. Members of the

       Fritz family have also provided testimony relevant to Lyle Fritz, the deceased father of Jacob Fritz.

       I have summarized certain pertinent portions of the testimony below.

              A.      Family of Jacob Fritz

                      1.      Noala Fritz – Mother of Jacob Fritz

              Jacob was Noala Fritz’s eldest son. N. Fritz Dep., March 2, 2018, 5:19 (Dkt. 71-7). Noala

       testified about their family life when Jacob was a child. They sang together when he was in grade

       school. Id. at 27:7-12. They also went to church together as a family every week. Id. at 29:12-

       13. When Jacob left to attend West Point, Noala told him that he would meet people who had

       much more than he had growing up, but that he had a farm and a “family that loves [him].” Id. at

       21:4-10. When Noala learned that Jacob had been killed, she felt that her “world had just ended.”

       Id. at 37:5-7. She testified that “[s]leep was non-existent. You couldn’t sleep. You couldn’t sleep

       because at night you would close your eyes, and once – probably the next day when we found out

       what had happened, that he had been abducted or handcuffed and shot, driven to – you can’t sleep.

       You can’t sleep. I asked God, I would say please explain this to me. Please promise me my son

       didn’t suffer.” Id. at 37:22-38:4. She still feels grief, over a decade after his death. Id. at 38:11-



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14.

       Noala keeps many pictures of Jacob in her home, from when he was in kindergarten to

when he graduated from West Point. Id. at 45:11-46:10. There are also pictures of Jacob in various

places in her community, such as the library and local hardware store. Id. at 47:2-10. Noala is the

spokesperson for Remembering our Fallen. Id. 51:24-52:4. While she “mourn[s] Jake 24/7,” she

also “celebrate[s] his life and those of other soldiers.” Id. at 53:2-5. Her younger son, Ethan, is “a

field artillery officer like his brother Jake.” Id. at 53:13-14. Because of Jacob’s death, she is

worried about Ethan. Id. at 53:21-25.

       Noala described Jacob as a future farmer who intended to return to his hometown after

completing a military career. Id. at 22:14-23:6, 35:12-15. Jacob was described by his family and

by others as a leader who has an infectious smile. Id. at 34:15-21; Testimony of            , Hearing

Transcript April 13, 2018, 115:13-18 (Dkt. 54).

               2.      Lyle Fritz – Father of Jacob

       Lyle was Jacob’s father. Lyle was a farmer and Jacob worked with his father and helped

with the farm. N. Fritz Dep., March 2, 2018, 18:3-6 (Dkt. 71-7). Lyle “took his boys with him

everywhere. If the boys could be with him, they went with him.” Id. at 32:3-4. From the time

Jacob could eat solid foods, Lyle regularly made homemade breakfast for the entire family. Id. at

8:25-9:12. According to Jacob’s brother Daniel, Jacob’s relationship with the entire family,

including Lyle, was “fantastic…. I think he was the – for my dad, Jake being the firstborn son

working on the farm, my dad was very proud.” D. Fritz Dep., March 2, 2018, 11:15-22 (Dkt. 71-

8).

       Noala testified that Jacob’s death was difficult for Lyle. Several years before Jacob’s death,

Lyle developed lung problems. In 2005, on the same day Jacob graduated from West Point, Lyle



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learned that he was put on a list for a lung transplant. As Noala testified, “[h]e got that lung, and

he was doing great. And when he lost Jake, it was like it just – we lost Jake in 2007, we lost Lyle

in 2011…. And I think Lyle was so worried and broken from losing Jake, and then Dan leaving,

and he said – he told one of my friends, he goes, I’m tired. I’m tired.” N. Fritz Dep., March 2,

2018, 38:25-39:16 (Dkt. 71-7).

        Daniel testified that Lyle “took it very hard. He was – like I mentioned earlier, Jake was

his firstborn son, the first guy to help him on the farm, and he lost that. He lost his firstborn son.”

Fritz Dep., March 2, 2018, 31:9-14 (Dkt. 71-8). As to Lyle’s health, Daniel said that he was “not

well at that time, and I think the stress – the stress [of] losing his firstborn son exponentially made

his health decline faster.” Id. at 31:20-23. Daniel does not recall his father ever crying during his

childhood, but it became a “common occurrence” after Jacob died. Id. at 32:2-7.

        Jacob had always wanted to return home and build his own house on a plot of land across

from his childhood home. After Jacob died, Lyle purchased that land. There is a stone on the land

that says “Jake’s Farm.” E. Fritz Dep., March 2, 2018, 47:20-49:21 (Dkt. 71-9).

                3.     Daniel Fritz – Jacob’s Brother

        Daniel was three years younger than Jacob. D. Fritz Dep., March 2, 2018, 6:9-13 (Dkt. 71-

8). Growing up on a farm, the brothers played together and spent a lot of time together. Id. at

6:19-7:21, 8:15-9:25. They lived in a rural area, so there were not many other kids around. Id. at

10:1-5. They had “limited exposure with other people,” but they had each other and their family.

Id. at 10:25.

        Daniel saw Jacob as a “role model” and “idol.” Id. at 10:7-21. As Daniel testified, “he

was my leader. He was the guy that I followed. He was the guy that I wanted to be because outside

of my dad he was my role model for…what I should be as I grew up through grade school, junior



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high, and high school.” Id. at 10:16-21. Jacob also “provided emotional support” for Daniel and

was a mentor. Id. at 15:22, 16:6-7.

       Daniel followed in his brother’s footsteps, attending West Point. Id. at 6:22-25. According

to Daniel, Jacob inspired him to attend college. Id. at 17:23-18:1. He testified that “had it not

been for Jake speaking with the track coaches and then spurring their interest in me, I can

confidently say that I would not have gone to West Point, and I would not be on the path that I’m

on right now in life.” Id. at 19:22-20:1.

       Daniel learned about Jacob’s passing while he was at West Point, celebrating his 500th

night at the academy. Id. at 23:24-24:4. He testified that it went from one of his best days at the

academy to the “worst thing in [his] life.” Id. at 25:16-20. “[I]t was unimaginable.” Id. at 25:15.

Daniel had to take some time off from West Point and his grade suffered. Id. at 26:9-23. Upon

his return, he felt ostracized and like the other cadets were afraid to talk to him. Id. at 39:6-25.

Yet, he pressed on, graduated from West Point, and served in Iraq, just like his older brother did.

Id. at 40:4-12.

       But because of what happened to Jacob, Daniel was scared—he did not want his mother to

get “another phone call.” Id. at 42:19-25. Eventually, Daniel left active duty service. Jacob

wanted to be a colonel and Daniel believes that “if Jake had been able to pursue his goals… [he]

would have followed him and stayed on active duty and pursued goals similar to his.” Id. at 45:2-

9. Daniel is now in the Nebraska National Guard, where he can be close to his family. He believes

that what happened to his brother has limited his chances of being successful. Id. at 45:10-46:1.

       Outside of the military, Daniel felt that without Jacob, his family would rely on him more,

and he did not “feel ready to fill the role that Jake had filled.” Id. at 28:10-16. He does not believe

that he is able to fill the role Jacob played for their younger brother, Ethan. Id. at 57:1-10. To this



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day, it hurts Daniel to think about the circumstances of his brother’s death. Id. at 34:22-23. As he

testified, “[i]t’s unbearable to think [about] the stress that he went through” during the abduction.

Id. at 35:4-5.

                 4.    Ethan Fritz – Jacob’s Brother

        Ethan was 11 years younger than Jacob. E. Fritz Dep., March 14, 2018, 8:5-6 (Dkt. 71-9)

Despite the age gap, Jacob spent a lot of time with Ethan and took him to a lot of activities when

they were both at home in Nebraska. Id. at 9:19-10:9. The two shared a bedroom growing up, and

Ethan saw Jacob as his “protector.” Id. at 11:9-15. All three brothers spent a lot of time together.

Id. at 14:20-15:22. The entire family always ate meals together. Id. at 17:11-14, 18:22-19:1.

When Jacob left for West Point, Ethan was devastated. He cried himself to sleep some nights,

because the other bed in his room was empty. Id. at 27:6-28:2. When Jacob visited home from

West Point, he and Ethan would talk about music. Jacob always brought Ethan a new CD. Id. at

33:8-19. In fourth grade, when assigned to draw a picture of what he wanted to do when he grew

up, Ethan drew Jacob in a military uniform and wrote, “I want to be a soldier.” Id. at 29:10-16.

Eventually, he, too, joined the military. Id. at 80:19-22, 89:12-15.

        Ethan was 14 years old the night the family was informed of Jacob’s death. His parents

were out for the night, and he was at home alone, watching a movie. Id. at 50:17-51:14. He heard

a knock at the front door. Id. at 51:17-18. This was not typical—everyone in the area knew to use

the back door. Id. at 51:19-52:8. When Ethan went to see who was at the door, he saw a colonel

and chaplain. Id. at 53:19-20. When Ethan told them that his parents were not at home, they

discussed amongst themselves whether they should tell Ethan about his brother. They ultimately

told him. Id. at 54:4-55:4. He then called his mother and told her that she needed to come home

as soon as possible. While his parents were on the way home, the colonel and chaplain were sitting



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at the dining room table. Id. at 56:2-58:15. As soon as his parents came home and his mother saw

the two gentlemen in the dining room, she collapsed. Id. at 61:11-62:3.

       At the time, Ethan was “emotionless” and “didn’t know how to react.” Id. at 66:3-7. For

years, he was in disbelief that this could happen to his “hero, the guy that [he] looked up to.” Id.

at 66:11-20. He had difficulty sleeping at the time and, to this day, there are still some nights when

he cannot sleep. Id. at 67:15-68:2. He misses “talking to him, sitting down and spending time

with him.” Id. at 102:16-18.

       B.      Family of Johnathan Bryan Chism

               1.      Elizabeth Chism – Mother of Johnathan Bryan Chism

       Elizabeth Chism is Bryan’s mother. E. Chism Dep., March 16, 2018, 6:13-14 (Dkt. 74-5 at

7. (Elizabeth testified that Jonathan preferred to use his middle name - Bryan. Id. at 6:16-20.)

According to Elizabeth, Bryan loved people. Id. at 25:5-12. She testified that he “took care of

people. If you had a car problem, he took care of that. He may have hidden his soft heart, but…he

was there for everybody.” Id. at 26:4-7. When Bryan was growing up, the family regularly ate

breakfast and dinner together. Id. at 7:22-25. Bryan was involved in many activities and Elizabeth

supported his interests. They went on family trips. Id. at 9:19-10:14, 12:4-17, 21:3-6,

       Elizabeth testified as to the long term effect of Bryan’s death on her emotional well-being.

When Bryan was killed, Elizabeth “asked for a copy of everything and sat and read everything, so

[she] [knew] how he was killed.” Id. at 18:8-10. She testified several times that “it was murder.”

Id. at 18:5-11, 20:22-23. She does not remember the first few weeks after she learned about

Bryan’s death. Id. at 18:19-19:3. She was prescribed Prozac for depression, visited with an army

social worker, and participated in the Tragic Assistance Program (TAPS), a support group for

family members of fallen soldiers. Id. at 19:15-20:11. She still participates in TAPS to this day.



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Id. at 20:12-14. She still experiences depression to this day. Id. at 20:25-21:1. She visits Bryan’s

grave and has maintained Bryan’s bedroom. She sometimes sleeps in his bed because she misses

him. Id. at 22:4-9. She also testified about the difficulty of facing family events like Thanksgiving

without Bryan. Id. at 21:2-11.

               2.       Danny Chism – Father of Bryan Chism

       Danny is Bryan’s father. D. Chism Dep., March 16, 2018, 8:4-5 (Dkt. 74-6). When Bryan

was growing up, he went hunting and fishing with Danny. The two participated in Boy Scouts

together, along with many other outdoor activities. Id. at 11:25-12:21. Danny testified that

although he and Elizabeth divorced, the family remained tight knit. Id. at 26:12-18. Bryan was

the best man at Danny’s marriage to Vanessa Chism. V. Chism Dep., March 16, 2018, 10:24-25

(Dkt. 74-7).

       According to Danny, Bryan’s death has been “[v]ery, very tough. It’s the worse anything

can ever happen in your life, this is it. It’s been tough.” D. Chism Dep., March 16, 2018, 24:1-4

(Dkt. 74-6). Danny also testified that he feels he is “more withdrawn since this happened. There

– your intimacy life is not there anymore. I’m not as intimate as I used to be.” Id. at 24:7-9. Danny

also developed high blood pressure within two months of Bryan’s passing. He was prescribed

medication as a result. Id. at 24:10-19. He also had difficulty sleeping and became depressed

shortly after Bryan’s death. Id. at 25:18-26:2. Because of “the way [Bryan] was killed,” Danny

does not hunt anymore. Id. at 28:8-13. He visits Bryan’s grave every two to three weeks. Id. at

30:2-5. Of his son, Danny says that “he was a good person. Like I say, and if you met him, he

was your friend. Until you proved different, he was your friend. You had to make him not like

you.” Id. at 31:9-14.

       Danny initially learned of Bryan’s death shortly after the event but did not learn of the



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details of the kidnapping and torture until days later. Danny testified that it was difficult to learn

of these details after the first report. Id. at 22:2-23:13.

                3.      Vanessa Chism – Step-Mother of Bryan Chism.

        Bryan was Vanessa’s stepson. They first met in 2002, when Bryan was 17. Bryan’s father

Danny married Vanessa in 2003. V. Chism Dep., March 16, 2018, 6:10-24 (Dkt. 74-7). On

average, during the three years leading up to his deployment, Bryan would stay with his father and

Vanessa about one week per month. Id. at 7:11-8:10, 24:17-19. They always ate together as a

family during those times. Id. at 13:23-14:4. According to Vanessa, Bryan “respected [her]

immensely. And he was easy to love, very easy to love.” Id. at 18:19-20. Vanessa also testified

that Bryan confided in her and asked her for advice. Id. at 18:21-23. Bryan has his own room in

the same hallway as Vanessa’s biological sons. Id. at 8:15-9:6.

        Vanessa recalls that after Bryan’s death, the family meals had ceased and “everybody just

kind of went their own way.” Id. 25:4-6. She regards Bryan as “one of [her] kids” and misses

him. Id. at 32:19-20. She believes that Bryan’s death affected her marriage with Bryan’s father,

especially because his health deteriorated after Bryan’s death. She feels like she went from being

a “newlywed couple to an old couple really fast.” Id. at 37:20-38:11.

                4.      Julie Chism - Bryan’s Sister

        Bryan was Julie’s younger brother. J. Chism Dep., March 16, 2018, 6:16-17 (Dkt. 74-8).

Growing up in Prairieville, Louisiana, there were few other children around, so they “relied on

each other as playmates” and spent a lot of time together playing outside and riding bikes. Id. at

7:18-8:4. They also went hunting together with their father. Id. at 11:13-23. They also attended

high school together. Julie even brought Bryan to a homecoming dance so he could meet her

friends and introduce him to high school. Id. at 7:4-6, 13:8-16. They also ran cross country



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together. Id. at 13:18-19. Julie testified that Bryan “didn’t have any enemies. Everybody liked

him. Everybody got along with him.” Id. at 16:1-3. The two were “very close” and “best

friend[s].” Id. at 16:15-18.

       Julie was a paralegal in the Army JAG Corps. Id. at 18:2-19:2. When Bryan went to her

basic training graduation, “he caught the military bug” and “wanted to join right then and there.”

Id. at 20:1-3. Eventually, the two served in Iraq at the same time. Id. at 29:5-23. Julie was actually

stationed at the hospital where Bryan was taken after the killing. Julie first learned of Bryan’s

death when their father called her on her Iraqi cell phone. Id. at 32:21-34:7. As soon as she found

out, she grabbed her Kevlar, flak jacket, and weapon to go “hunting” for the people who killed

Bryan, but other soldiers stopped her at the gate of her base. Id. at 34:8-21. Julie had to break the

news to Elizabeth. Id. at 35:2-13.

       Julie had planned to make a career in the Army, but she changed her mind when Bryan

died. Id. at 38:12-39:3. After leaving the military, Julie married, but the “marriage failed because

of all of the issues with Bryan and what [she] later learned was PTSD.” Id. at 40:18-22. Julie was

treated for PTSD by the VA. At first, she was prescribed a variety of drugs, but the drugs had

significant side effects. Id. at 41:14-22. She then tried working with a service dog, which she still

has today. Id. at 41:23-42:12. She began getting acupuncture in 2014 and still gets it every other

week. Id. at 42:13-20. Because insurance does not cover acupuncture, she pays $100 out of pocket

for each treatment and estimates that since 2014, she has spent $10,000 on acupuncture. Id. at

47:8-14. She also had to pay about $5,000 out of pocket for training and obtaining the service dog.

Id. at 47:13-16. The symptoms of her PTSD include severe anxiety, depression, and insomnia.

Bryan’s death was one of the causes of Julie’s PTSD. Id. at 44:2-19. She still suffers from those

symptoms today. Id. at 49:20-23. When asked what she misses most about Bryan, Julie responded



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that she “miss[es] [her] best friend. I miss the one person I could go to about anything and not feel

judged or get the advice I need, even if sometimes it wasn’t what I wanted to hear. I miss what

could have been for him.” Id. at 58:7-15.

       Julie also testified about the effects of Bryan’s death on her parents. She testified that

Bryan’s death ‘aged’ her parents and put her mother Elizabeth into depression. Id. at 36:24-37:9.

       C.      Family of Shawn Falter

       The family of Shawn Falter includes Shawn’s father, his step-mother, four half-siblings

and four step-siblings. Each of these individuals provided deposition testimony relevant to the

issue of damages. Collectively, the testimony establishes that the various “groups” comprising the

Falter family came together as a family and that Shawn was considered by all to be the “son” and

the “baby” of the family. All members of the Falter family were significantly affected by Shawn’s

death and the manner of his death.

               1.      Russell J. Falter – Father of Shawn Falter and Representative of the
                       Estate of Shawn Falter

       Russell Falter is Shawn’s father. He had full custody of Shawn from the time Shawn was

3 years old. R. J. Falter Dep., February 28, 2018, 7:13-15 (Dkt. 77-7). When Shawn was younger

he spent most weekends in the summer with his father at a camp. Id. at 9:24-10:2. The family

participated in ‘fish fries’ at the Elks Club on Friday nights along with Shawn and the other boys

- who would help. Id. at 12:15-13:10.

       Russell testified that he turned to alcohol to deal with his emotions after Shawn’s death, as

he “would just start breaking right down and crying.” Id. at 34:22-35:10. “There are -- there's

times when I like to just be by myself and kind of -- I always say I'm feeling sorry for myself, that

I wake up and try to -- you know. That's what I did for -- for a while when I was drinking too




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much, and because I was blaming it because of Shawn passing away. And -- and I decided that it

wasn't good for my health and for my -- my family, my kids, my grandkids, and I decided that it

would make Shawn happy too knowing that I straightened myself out. And I did it for him and

for the family. And it – it’s worked out fine.” Id. at 29:6-20.

       “It was like I didn't want to walk out to the mailbox because it would be something in there

– somebody sending me a card and … a sorry – sorry about your loss … which was nice, it was

really nice, but yet, it would make me break right down. And I was home alone, I was retired, and

she was -- my wife would working. And -- and this would be, like, all the time. Or if we'd go to

the grocery store, being a small town like it is, you go to the grocery story, somebody runs up to

you and gives you a hug, ‘Oh, I'm so sorry.’ And, you know, they meant well. I appreciated it,

but yet, it would -- it would get me again, you know. And there is -- just hard. It was hard for me

because sometimes I'm too emotional, I guess.” Id. at 30:5-18.

       He keeps Shawn’s picture on his phone when he opens it and above his TV. Id. at 36:12-

15. He thinks about him every day – I miss him so -- so much.” Id. at 37:8-10. When they came

to the door at night to tell them Shawn had died, “I just didn't want to live. I just didn't.” Id. at

38:16-19. And then “ the casualty officer -- … got the other message that -- what really happened,

that he was shot and dragged off and held hostage, and which we weren't told at the beginning.

And Ray had to come back and tell -- tell the whole family that again. I think that was terrible,

really terrible. They don't – you don't know what it does to people. My wife didn't need that. I

didn't need it. My family didn't need it.” Id. at 38:20-39:9.

               2.      Russell, Sr’s Testimony Regarding Other Family Members

       Russell testified that Shawn got along well with his step-siblings “[l]ike family, you know.

They were -- he got along with David even closer, David Lucas.” Id. at 7:20-22. Shawn viewed



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Dave, Tim, Marsha and Drew all as brothers or sisters. Id. at 8:1-11. Shawn and David Lucas

“were the closest of all the kids because of their age. And Dave was still living at home, of course,

and -- and they did a lot of things together.” Id. at 24:25-25:8.

       The family would spend a lot of time together at a camp they went to on weekends. “And

we spent a lot of time at the camp as a family with Marsha and Tim. And not much -- Drew was

in -- in the service and he wasn't around much, Andrew. But David and Shawn and Tim and

Marsha, and sometimes Jason and Johnny Sackett, they would be up there.” Id. at 8:23-9:2.

       He would drop Shawn at his grandmother's house (Shawn’s mother’s mother) so he could

spend time with John and Jason Sackett. Id. at 19:6-14 “[H]e always wanted to go see his brothers.

And that was fine, even to the point where his -- his brother's father, he lived in Homer also, and

there was times when they were living with -- with their father and -- and I would drop him off

over there to – to stay with -- with them. Sometimes they would stay overnight, have an overnight.

And they were real, real close.” Id. at 19:19-24.

               3.      Linda Falter – Step-Mother of Shawn Falter

       Linda testified about her relationship with Shawn and the effect of his death on her and the

family. When Linda married Russell, she moved in with Shawn and Russell. L. Falter Dep.,

February 28, 2018, 10:13-20 (Dkt. 77-8). It was a “close knit family.” Id. at 15:6-7.

       Linda was Shawn’s primary caregiver; she went to all of the school conferences and

attended his football and baseball games, put him to bed and read him books at night, took him to

doctor appointments, and took him to the hospital when he had appendicitis. Id. at 24:3-26:13.

“[W]hen I first moved in, it was just a natural role for me to roll over from what -- I had raised

five children and it just continued on with him … I did everything with him. It was just like David

or Marsha or -- that was my role.” Id. at 26:16-28:12. She thinks he started calling her Mom



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within four weeks after she moved into the house. Id. at 29:17-19.

       The day they learned of Shawn’s death was the same day they had earlier buried Russell’s

grandson (son of his daughter Cindy – who died of cancer). Id. at 50:6-19; 9:11-14. That night

they saw news about an incident in Karbala and then they heard a car and knock on the door, “[a]nd

I looked at this guy, and I just went (witness shakes head) and he went (witness nods head).” Id.

at 51:13-20. She was hysterical and crying. Id. at 52:15-53:2.

       When she later learned how he died, “it was like you just lost him all over again. It was

bad enough to lose him, but to find out that he had been abducted, drugged through this, shot in

the head shot and shot in the back and handcuffed and left in a vehicle.” Id. at 57:18-22.

               4.      Linda’s Testimony Regarding Other Family Members

       Dave (Shawn’s step-brother) was like Shawn’s natural brother: “I remember one time,

[Shawn] said, ‘Well, you know, I'm only your step-brother.’ And David said, ‘If you say that one

more time ever, I'm taking you out. You’re my brother. That’s how it is. That’s how it’s always

been. End of discussion.’ And it was never said again.” Id. at 18:7-13.

       David had the hardest time of the siblings after Shawn’s death “probably because they lived

together …. [H]e still does have the hardest time with it.” Linda testified that David is very angry

about the whole thing. Id. at 81:20-82:3.

       Linda testified that Andrew would see Shawn as much as he saw Linda because when he

visited he stayed with them. Id. at 20:13-21.

       She testified that Tim isn’t very verbal but “suffered with it and the loss.” Id. at 82:8-11.

       She testified that Marsha “struggles a lot.” Id. at 82:7.

       She testified that it took Russell, Sr. a year to come back to normal. Id. at 60:6-8. He

couldn’t “get beyond it. And so the drinking increased and increased…. and as soon as he started



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drinking, he would start crying.” Id. at 74:1-6. His drinking got much worse after Shawn died.

Id. at 73:18-74:14. He had an accident in a golf cart they had and hurt his legs and was in the

hospital in intensive care for 10 days, and then he stopped drinking. Id. at 74:22-75:18.

       She testified that Russell C. Falter (Shawn’s brother) ‘internalized’ his grief. Id. at

82:14-16.

               5.      Marjorie Falter – Shawn’s Sister

       Marjorie was 19 or 20 when Shawn was born and lived in the same residence for a few

months after he was born, and then moved about 15 miles away. Marjorie saw Shawn once a

month or more. M. Falter Dep., February 27, 2018, 8:15-25, 10:4-9, 11:21-25 (Dkt. 77-9). Her

son was a couple of years older than Shawn and the two boys were close. Id. at 10:18-11:8. In

1993, she moved about 2 hours away and only saw him three or four times a year. Id. at 16:22-

17:10. Marjorie testified that she had trouble sleeping after Shawn’s death and that to this day still

feels emotional harm. Id. at 25:24-25, 34:19-23. She stated that certain events such as Veteran’s

Day and her son’s birthday cause her to think of Shawn and triggers sleeplessness. Id. at 36:7-

37:21, 42:19-44:12. She says that family holidays seem empty. She feels a void in her life. Id. at

45:10-47:9.

               6.      Russell C. Falter – Shawn’s Brother

       Russell lived with Shawn shortly after Russell graduated from high school. He remembers

watching Shawn when Shawn was a young child. R. C. Falter Dep., February 27, 2018, 6:10-15,

9:10-20 (Dkt. 77-10). They spent every summer together at their summer camp. Id. at 8:11-10:16.

Russell recalls happy times during those summer gatherings. Id. at 10:19-11:2.

       Russell accompanied the family to pick up Shawn’s body from the airport. Russell felt that

picking up the flag draped casket really made him realize he would never see Shawn again. Id. at



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17:22-20:8. Russell expressed concern about the effect of Shawn’s death on his father. Id. at

22:10-19.

               7.      John Sackett – Shawn’s Brother

       John is Shawn’s half-brother on his mother’s side. John Sackett Dep., February 28, 2018,

19:6-25 (Dkt. 77-11). Shawn lived with John and his other half-brother Jason until Shawn was

about 3 or 4. After Shawn’s father gained full custody of Shawn, Shawn’s father ensured that the

brothers remained in contact. The brothers frequently spent time together at their grandmother’s

house. In fact, Shawn’s father testified that while they did not live together, John, Jason and Shawn

were “real, real close.” R. J. Falter Dep., February 28, 2018, 19:6-25 (Dkt. 77-7).

       Although Shawn was younger, “he always wanted to be in amongst everything that was

going on.” J. Sackett Dep., February 27, 2018, 14:5-7 (Dkt. 77-11). They played at their grandma's

house, watched cartoons, built snow forts and “did just kid stuff.” Id. at 14:13-16. He would also

see Shawn at Friday night fish fries at the Elks Lodge sometimes every week and sometimes every

other week. Id. at 6. Shawn was about 8 when John signed up with the Marines in 1990 after he

graduated high school. Id. at 14:25-15:15. John enjoyed spending time with Shawn. Id. at 17:11-

18. He had no problem with Shawn calling him brother and he “was happy to call him my brother.

Proud of him.” Id. at 17:19-22.

       After John joined the Marines in 1990, he would see Shawn whenever he came home,

making a point of seeing him. Id. at 17:23-18:19. And his Mom “made a point to bring him out.

Russ would bring him out. I'd see him in Cortland or in Homer” and he would come back a few

times a year. Id. at 18:17-19:3. Shawn also came to visit John and they went to Camp David (he

thinks in 2004). Id. at 19:21-21:9. That was the last time he saw Shawn. Id. at 24:20-22.

       He learned about Shawn’s death when his mother called him late at night after he just got



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back from Fallujah. Id. at 24:24-25:5. He got right in his car and drove from North Carolina. Id.

at 25:9-20. He was mad and sad. Id. at 25:21-26:2. He thinks learning that Shawn had been

kidnapped and executed, had an additional emotional impact on him. Id. at 28:16-19. He

understood the risks of being killed in Iraq but “[t]here's not too many scenarios where they drive

Suburbans into your compound and kidnap American service members and take them away. That's

out of the ordinary. I couldn't believe it. I was -- I was embarrassed. I was ashamed. I was sad. I

was mad. All of those things. Just to imagine what he had been through to the one -- you know, be

there when they opened the gate and all hell broke loose, and then to know that, you know, how

long from point A to point B did -- what transpired, it's just unimaginable.” Id. at 28:19-29:17.

       About six or eight months after Shawn died, John went back to Fallujah for the second

time. Id. at 33:4-7. He carried a lot of anger with him on his second tour. Id. at 34:11-35:2. When

he got back he went to a counselor and talked about his drinking and other issues, and some of his

issues he attributes to Shawn. Id. at 38:4-17, 40:15-41:5, 42:6-12. He has a picture of Shawn in

his living room. “I have the box, his flag box that the Army gave in my living room. I have a

memorial for him. I see him every day. The hat that he wore when he was a kid is in my living

room. So, yeah, I get triggered about it every day. … I think about him often. I go through my

book, memorial book, cards and newspaper clippings and Time magazine articles, and I think

about him all the time.” Id. at 42:20-43:10. He still feels the loss in his life. Id. at 43:11-13.

               8.      Jason Sackett – Shawn’s Half-Brother

       Jason Sackett is Shawn Falter’s half-brother. Jason Sackett Dep., February 27, 2018, 6:12-

14 (Dkt. 77-11). Jason lived with Shawn from the time Shawn was born until Shawn was

approximately 5 or 6. Id. at 6:15-17. Shawn then moved to live with his biological father but they

continued to see each other ‘all the time”. Id. at 7:2-5. They played together and interacted almost



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“daily”. Id. at 8:12-18. Jason then moved to his father’s house which was farther away and for a

three year period would see Shawn 2 to 4 times a month. Id. at 8:20-9:15. Jason then moved to

his grandmother’s house and then was able to see Shawn “all the time”. Id. at 9:19-10:6. Jason

learned of Shawn’s death from his mother. Id. at 12:10-16. Jason testified that it really “shook”

him. Id. at 12:17-19. Jason was also serving in the military at the time and testified that he was

very upset about the manner of Shawn’s death – particularly because he was on guard duty. Id. at

13:22-14:2. Jason was deployed to Iraq a few weeks after Shawn’s death. Id. at 14:3-18. He

testified that he felt Shawn’s death caused him to be more anxious and he started to volunteer for

missions so that he would not have time to think. Id. at 14:19-15:4. He testified that he had some

depression, that it is hard to talk about Shawn and that it has been “rough”. Id. at 14:3-13, 17:21-

24.

               9.      Marsha Novak – Shawn’s Step-Sister

       Marsha’s mother is Linda Falter – Shawn’s step-mother. When Linda married Russell in

June 1988, Marsha moved into the same house – with Shawn – and lived there until she went to

college in August 1988. She would return to the house and lived with them during breaks. Then

after a year she moved back in the summer of 1989 when she went to college locally, and stayed

there until late summer or early fall of 1991 when moved to Ithaca (20-25 minutes away). M.

Novak Dep., February 27, 2018, 6:13-8:23 (Dkt. 77-13). While they lived together, “she was like

the “older sister. … So a lot of times I picked him up and brought him to his grandma's or -- kind

of was babysitter like, and practices and homeworks and, you know, that kind of sibling, older

sibling, responsibility.” Id. at 9:6-9. They went on vacations and camping together. Id. at 10:3-

14.

       When she moved to Ithaca in 1991, she would come back 2-3 times a month or weekly,



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and sometimes would stay over at night. Id. at 11:13-21. She moved to California in 1996 and

then would come back to New York 2 or 3 times a year (holidays and 10-12 days in the summer).

Id. at 12:14-13:3.

         Since Shawn was young when her mother started dating his father, Shawn “pretty much

was just part of our life from then on. And I think just his age and his kind of cuteness and little

boy just -- he just instantly became our family. It wasn't like, "Oh, we're going to" -- "this is my

stepbrother and" -- you know, just was part of the family. … And it wasn't something that I looked

at, like, Dave differently than Shawn. They were just my brothers and together.” Id. at 28:21-

29:16.

         She learned of the abduction from her husband doing online research, and she made a

military officer “come down, because I thought that was the one thing I couldn't really tell my

parents about personally. So it was just another level of -- it just made it worse for us, because he

was, you know, like killed again almost in our eyes. It changes the way that we think of the scared

moments and stuff of that abduction, different than an instant thing. And that's not something that

I -- so I had to tell my parents. I was the one that told them.” Id. at 21:3-24.

         The first year after he died “was very stressful for me, and I got depressed and anxious.

There was a lot of community interest in our family at the time, and so I came back probably two

or three times that year. But it was stressful for me because I'm the fixer of the family and the

helping hand, and to have them all be here and distressed and not be able to help and guide and

comfort, it was really hard for me. So I think that was part of my grief with Shawn is just knowing

I couldn't fix him or fix the family and make it easier. So I had some anxiety and depression issues

for about a year after.” Id. at 27:8-28:2. She testified that she had to use an antidepressant for 18




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months to 2 years. Id. at 28:3-6.

               10.     Marsha’s Testimony Regarding Other Family Members

       Marsha testified that Shawn’s father “kind of shut down right away. He just was -- he

literally cried a lot, and we just were like concerned for him and trying to get him to eat and rest.

And he was just very agitated and crying and distressed, like very distressed. And so he really --

so really he wasn't even able to make decisions because he was so just beside himself with grief.”

Id. at 20:2-11. Her mother was “The same way. Very like -- she was very distressed and worried.”

Id. at 20:12-17.

       There was a lot of community pressure for Shawn’s father to go out in public, and strangers

would “come up to him and hug him and console him. Because every moment that they went out

and did that, it was like scraping the scab off a wound, and they had to kind of relive that over

again and kind of let that bleed again … they wanted Shawn's memory to be part of the community

and knew how much that meant to them. But it was very stressful on them and he really started

self-medicating with alcohol and then got pretty sick towards the end of the year and ended up in

the hospital”. Id. at 38:24-39:13.

       Her mother would go to events honoring Shawn and “then she'd come back and she'd be

so upset and crying. But when she was there, of course, she's all like ‘I'm doing this for Shawn’

and ‘Thank you so much,’ and then it was a very stressful time afterward.” Id. at 40:5-22.

       “Dave and Shawn were close. They lived together the most consistently, I think, for the

five years, and then afterwards. So they were very close growing, you know -- especially later, I

think, because they were the ones still here, and they just were -- they were close friends. They

were friends too, not just brothers.” Id. at 15:11-17. David was so distraught at Shawn’s private




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viewing for the family that he had to be led away. Id. at 24:7-11.

               11.     David Lucas – Shawn’s Step-Brother

       David testified Shawn was his stepbrother but he “absolutely” saw him as his brother. D.

Lucas Dep., February 27, 2018, 6:2-6 (Dkt. 77-14). He lived with Shawn for about 9 years. Id. at

6:16-18. He coached Shawn’s soccer team for 2 years. Id. at 7:5-10. He described the household

as the “core four” of him, Shawn and their parents. Id. at 7:22-8:8. They went on vacations and to

the camp in the summer. Id. at 7:11-8:5. David moved out of the house when he was 19 or 20,

but Shawn would stay with him “every now and then, you know, so we were still very close after

I left. Lived in the same town still.” Id. at 9:11-19. Shawn stayed with him a couple of weeks

before Shawn went to boot camp. Id. at 11:8-11.

       The days after learning of Shawn’s death were “unbearable. You can't put those into

words.” Id. at 12:10-15. David feels guilty because he couldn’t protect him as his older brother.

Id. at 14:14-21. David underwent counseling for close to two years and went through depression.

Id. at 14:24-16:8. More than ten years later, David continues to struggle with sleeping. Id. at 16:2-

3. He underwent treatment in 2014 and 2015 to address his feeling over Shawn’s death. Id. at

15:3-22. David misses Shawn and being his older brother. Id. at 22:15-19.

               12.     Tim Lucas – Shawn’s Step-Brother

       Tim refers to Shawn as his brother because “when my mom and Russ got married, he was

so little that we just took him in as our brother, and, you know, we just assumed him always to be

our brother. He was just little. And we were all living together, so we just kind of meshed as a

family.” T. Lucas Dep., February 28, 2018, 8:3-13 (Dkt. 77-15)

       Shortly after his mom and Russ got married in 1988, they moved in with Russ and Shawn.

Id. at 9:9-13. He lived there 2-3 years. Id. at 13:2-6. Tim was working down the road and would



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be there every day and see Shawn. Id. at 13:7-12. He and Shawn would play together and go to

camp. Id. at 15:17-16:25.

       Then Tim moved to a house that was a 5 minute walk away (15 houses away) and lived

there for two and a half to three years. Id. at 17:3-18. He would still see Shawn a couple of times

a week. Id. at 18:18-22. Even after he moved to Little York Lake, he would see Shawn on the

weekends and holidays and at the Elks Club where they were working. Id. at 28:20-29:8. Then

Tim moved back in again with his parents and Shawn for a brief period of a couple months around

when Shawn was a senior in high school. Id. at 24:1-5. He saw Shawn the same way he saw his

biological brother Dave: “I didn't see any difference, you know, as far as Shawn and my little

brother Dave, you know. And there's times I was closer to Shawn than probably Dave, you know,

I mean, growing up, you know. I don't really know how to -- I don't -- I mean, he was more around

than my little brother Dave. Like, Dave would be in high school, you know, he'd be going off

doing his own things with his buddies. But Shawn was at the age where he was still young. And

he'd be home every night, you know, so I would still see him, to where Dave would be off doing

his thing, you know, so in that time frame.” Id. at 21:2-17.

       They also worked together at a commercial pipe company. Id. at 29:12-32:15.

       When Tim heard what had happened to Shawn, he was “overwhelmed.” Id. at 37:10-14.

He missed 2 weeks of work and could not sleep. Id. at 40:19-25. He would drink with his father

“so he'd have somebody with him to console” and “that way I could kind of watch out for him

too.” Id. at 41:1-15.

               13.      Andrew Lucas – Shawn’s Step-Brother

       Andrew was 21 or 22 when Shawn entered his life. T. Lucas Dep., February 28, 2018, 8:6-

8 (Dkt. 77-16). Andrew was in the Air Force at the time. He would see Shawn when on leave or



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if his mother and Russell would bring Shawn to visit him when he was stationed in Florida. Id. at

8:12-9:8, 10:9-11:5. He would get leave 2-3 times a year, typically 10-14 days. Id. at 11:16-20.

He would stay in the bedroom next to Shawn’s when he was home on leave. Id. at 13:6-14. He

would pick up Shawn from school, help him with his homework, go to his Little League games

and do activities with Shawn when they were at the camp in summer. Id. at 13:20-14:18. He

considered Shawn to be his kid brother. Id. at 14:19-15:2. When they came to Florida to visit

him, they would go to the beach and went to Disney World. Id. at 15:3-18. Shawn would say at

his house there off-base where Andrew lived with his own wife and daughter. Id. at 16:3-10.

       In the period after Shawn’s death, he had some depression. He admitted, “I was probably

self-medicating with alcohol more than I should have.” Id. at 22:7-9. He sought grief counseling

to work through the depression. Id. at 22:9-15.

       D.      Family of Ahmed Al-Taie

               1.      Kousay Al-Taie – Father of Ahmed Al-Taie and Representative of the
                       Estate of Ahmed Al-Taie

       Ahmed was the eldest son. The family lived in various countries and traveled together

extensively. Ahmed moved to the United States and helped his family adjust when they later

joined him.

       They found out Ahmed had been abducted from a friend in Iraq. A few hours later

members of the military came and informed the family of the abduction. Kousay described this

meeting as “disaster, really, that time for us. Then there is a sergeant with another two militaries

they knocked our door and they tell us that… this is true.” K. Al-Taie Dep., April 2, 2018, 17:14-

22 (Dkt. 80-6). They believed that he was alive, and they were showed a video, “he was in the

very bad position, really, because I think they hit him in his eye. It was… very, very sad. … He




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looked very tired. He looked like he was beaten up and he couldn't talk. … very bad position,

really. I was so sorry.” Id. at 18:19-19:12.

          It was then several years until he learned that Ahmed had been killed. Id. at 19:18-21. His

wife made a video begging them to release her son. Id. at 20:3-8. The years of not knowing what

happened and if he was alive or dead was “a disaster for the whole family” and for him it was a

very difficult situation. Id. at 22:1-7.

          Kousay took antidepressants and sleeping pills to cope with the grief and uncertainty. Id.

at 22:8-16.

          “We miss him. …. It was -- had a big [e]ffect on the family because we were always sad

and crying.” Id. at 24:9-15. “[M]e and my wife will always be saddened by losing him.” Id. at

30:4-5.

                 2.      Kousay’s Testimony Regarding Other Family Members

          Kousay testified that Ahmed was very close to his brothers. Id. at 9:25-10:11. He testified

about the video Ahmed’s mother made begging the terrorists to release her son. Id. at 20:3-8. The

years of not knowing what happened and if he was alive or dead was a “disaster for the whole

family” and Nawal “was constantly crying… She always prayed that one day he will come back.

Yeah, it was very bad time.” Id. at 22:1-7. She took sleeping pills and antidepressants also. Id.

at 23:11-17.

                 3.      Nawal Al-Taie – Mother of Ahmed Al-Taie

          Nawal testified that Ahmed was 10 or 11 when they left Iraq and moved to London where

she and her husband lived with Ahmed and his brothers Bashar and Hathal. N. Al-Taie Dep., April

2, 2018, 6:22-7:13 (Dkt. 80-7). After a year and a half, they all moved to the UAE. Id. at 7:14-

21. In 1984, they moved back to Baghdad but without Ahmed “because it was war in Iraq, so I



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didn't -- I'm afraid to use his studying or something like that, so he stay in Emirates. Id. at 8:4-10.

When Ahmed moved to the United States after high school when he was 18, he split his time

between both brothers - one in Boston and one in Michigan. Id. at 9:10-17. When Nawal and

Kousay moved to the United States, Ahmed lived with them. Id. at 9:18-10:4.

       Ahmed was “very close to his dad and me, because he was the oldest one, the first born.”

Id. at 10:5-8. She used to shop with him and go to the movies. Id. at 13:2-7.

       A friend who had been trying to call Ahmed found out he had been kidnapped and told her,

and “we were very upset and we start yelling, screaming, crying and we were ready to go to the

mosque for the holiday prayer but everybody was crying. Id. at 18:4-19:10. She “used to cry all

the time, pray all the time, and in those days I would never sleep at night; I would spend the whole

night just crying and praying…. I just stay up all night thinking about what happened to him. I'm

quite sure that he was tortured.” Id. at 19:17-20:4. After about 4 months she was watching Iraqi

news and saw her son in a video. Id. at 20:5-16.

       The United States government had her make a video to show the terrorists and she “begged

them and asked them to release my son and I was crying but I did the video.” Id. at 22:7-21.

       In the period when his whereabouts were unknown, she and her husband couldn't sleep at

night. Id. at 25:15-26:2. Nawal was devastated when she learned of Ahmed’s death. “My husband

and I were just devastated and our life changed to the point that even going out for fun or going to

a party we don't do that anymore. We don't celebrate anything. We're suffering and we feel like

we're done.” Id. at 27:10-17.

       Nawal would go visit the grave and “sit there and I cry.” Id. at 26:10-11. She and her

husband were depressed, she was prescribed antidepressants, and he was given medicine also.

They were both given sleeping pills. Id. at 26:22-24. Nawal stopped taking the medication



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because she was getting headaches but her husband still does and sometimes she just has to still

take it. Id. at 29:4-15.

        When Ahmed’s remains were found, Nawal was shaken to find out that all that was left

was a skeleton. “When I begged them that to see my son, they said we’re going to bring him home

and you can see him but when they brought him it was just only the bones, the skeletons.” Id. at

24:5-19. She was “so shaken” and crying when she learned he had been killed. Id. at 24:20-22.

                4.         Hathal K. Taie – Brother of Ahmed Al-Taie.

        Ahmed was about 10 years older than Hathal. H. Al-Taie Dep., April 2, 2018, 10:11-12

(Dkt. 80-7). He describes Ahmed as his closest friend. Id. at 16:17-17:5, 26:3-5.

        He used to go out with Ahmed and they had fun together. Id. at 8:1-6. Ahmed took him

flying. Id. at 8:8-22. In childhood, “the most I remember was in Niagara Falls we went to Canada

and also the helicopter we did the tour, you know, and I remember this very well because I was

one of the first experiences with him and also before that maybe also I remember in London he

used to take me all the time to judo and karate. He has a black belt, so I used to play with him; I

was like five six years old. Id. at 9:21-10:3. “[W]when I came [to the U.S.] in 2000 he was like a

friend now because, I mean, the ages when you're 30 and your brother is 20 it's not like you're 15

and he's 5. It's a big difference, so we used to go clubs to meet his friends, his girlfriends.” Id. at

10:19-23.

        In 2006, they found out Ahmed had been captured – first from a friend and shortly after

the military confirmed it. Id. at 11:13-12:3. In the 5 year period following, they believed he was

alive “because there was no evidence that … for example, all those terrorist groups when they kill

someone they show it on video like on YouTube all the time like those all beheadings and stuff.

We were all watching these type of videos, unfortunately, to see -- even my mom. I mean, she



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doesn't like to watch these videos but she used to watch it when someone shows up 'cause hopefully

it's not my son. I mean, it's bad but that's reality; that's what my mom was doing.” Id. at 12:17-

13:3. They had several false alarms when they thought he had been killed. Id. at 13:4-25.

       After Ahmed’s death, Hathal testified that he and his family “have all this type of

nightmares if you talking about -- I mean, we always think like how he died and, I mean, we used

to imagine a lot of -- especially I saw all these type of videos of beheading and all that stuff so of

course it’s very hard. I mean, every day -- I don't know if it's every day -- but I used to dream a lot

having nightmares about how they killed him or they torturing him. And whether they killed him

or not we didn't know. For five years we didn't know.” Id. at 21:4-13.

       “[Ahmed’s death] affected me … when I came here to the U.S. in 2000 he used to be my

closest friend because at that period of time Bashar was in Canada, so he's the only brother I have

here and we used to go out all the time and he showed me everything here…. So he talk taught me

a lot of stuff. He was like my closest friend.” Id. at 16:21-17:5. “[O]ne of the reasons I became

successful today because he got me adjusted.” Id. at 22:1-2.

       Hathal testified that the period of uncertainty had a big impact on his parents’ health. For

example, “my mom has -- we don't have any diabetes, in the history of the family; my mom got

diabetes once a day -- the day she heard that Ahmed was kidnapped because of the shock and since

then, I mean, depression, diabetes all this type of diseases that comes with someone when you get

hurt or something.” Dkt. 80-8 at 6.

       His parents “were more fun before. They used to go out.” Id. at 14:15-22. Since this

incident happened, “my dad is always sitting on the kitchen table watching computer; he never

goes out. He never even walks.” Id. at 15:14-21.




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              DETERMINATION OF AMOUNT OF COMPENSATORY DAMAGES

I.          ECONOMIC LOSS DAMAGES – ESTATES OF DIRECT VICTIMS

            “Section 1605A explicitly provides that foreign state-sponsors of terrorism are liable to

  victims for economic losses stemming from injuries or death sustained as a result of the foreign

  state’s conduct.” Thuneibat v. Syrian Arab Republic, 167 F. Supp. 3d 22, 48 (D.D.C. 2016) (Syrian

  Arab Republic was liable to citizens’ estates and families, under FSIA, for economic losses) (citing

  28 U.S.C. § 1605A(c)). See also Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 402 (D.D.C.

  2015); Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 83 (D.D.C. 2010).

            Such damages may be proven by the submission of a forensic economist’s expert report.

  Roth, 78 F. Supp. 3d at 402 (citing Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 24 (D.D.C.

     2009)). “In considering an award for lost future earnings, the Court shall take account of the

     reasonableness and foundation of the assumptions relied upon by the expert.” Roth, 78 F. Supp.

  3d at 402 (citing Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204, 214 (D.D.C. 2012)); see

  also Thuneibat, 167 F. Supp. 3d at 48-49 (finding satisfactory evidence to support economic loss

  award in expert reports from forensic economists that were based on data provided by the National

  Center for Health Statistics, information submitted by the immediate family members of the two

  victims, and his own expertise, which calculated the “loss of wages and employee benefits” for

  the victims and then offset the potential income and benefit streams with estimates of personal

  consumption, using a study based on data from the U.S. Department of Labor, Bureau of Labor

  Statistics, all of which was then discounted —at a rate of 1.25 percent per year, “based on the rate

  of return on U.S. Treasury Bills based on Historical H.15 data from the Board of Governors of the

  Federal Reserve System”); Belkin, 667 F. Supp. 2d at 24 (awarding economic damages based on

  conclusion that expert testimony was based on reasonable assumptions about plaintiff’s likely



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earnings if she had survived, including the length of time she would have worked and received

retirement benefits).

        Plaintiffs have submitted economic loss reports for each of the Direct Victims. The

economic loss reports were prepared by Dr. James Markham, a senior economist at the Center for

Forensic Economic Studies (“CFES”), and Chad Staller, President and Senior Economist at CFES.

Courts have previously accepted reports prepared by CFES to establish damages in cases under

the state sponsored terrorism exception to the Foreign Sovereign Immunities Act. See, e.g., Roth,

78 F. Supp. 3d at 404-405; Osongo v. Republic of Sudan, 60 F. Supp. 3d 144, 149 (D.D.C. 2014),

aff’d in part and rev’d in part on other grounds sub nom Owens v. Republic of Sudan, 864 F.3d

751 (D.C. Cir. 2017)). Dr. Markham’s and Mr. Staller’s experience and expertise in the field of

forensic economics are well-documented. Both have testified as experts in state and federal courts

nationwide. These individuals are qualified to analyze and opine on economic loss.

        I have reviewed the reports prepared by CFES and find that the calculations are reasonable,

consistent with generally accepted practices, and apply appropriate assumptions based on

reasonable and well-documented sources. 2 CFES has appropriately applied deductions to account

for personal consumption and taxes. The economic loss computations are based on the military

pay status of each of the victims as of the date of death and apply the reasonable assumption that

each would have continued in the military until the military pension would vest and then would



2
 The economist reports rely on the following sources for military pay scales and benefits, expected worklife
and standard expected life span. United States Department of Defense, Defense Finance and Accounting
Service,                      https://www.dfas.mil/militarymembers/payentitlements/military-pay-charts;
http://militarypay.defense.gov/Pay/Retirement.aspx; Skoog, Ciecka and Krueger. The Markov Process
Model of Labor Force Activity: Extended Tables of Central Tendency, Shape Percentile Points, and
Bootstrap Standard Errors. Journal of Forensic Economics 22(2), 2011, pp. 165-229.;
http://www.ssa.gov/pubs/ageincrease.htm; Arias E. United States Life Tables, 2011. National vital statistics
reports; vol 64 no 11. Hyattsville, MD: National Center for Health Statistics, 2015.



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proceed into civilian employment. This assumption is generally consistent with economic loss

analysis involving members of the military and with the experience of members of the military in

general. CFES has provided two estimates of future economic loss in each case: one computes

loss until the end of “statistical worklife” and the other computes loss until social security

retirement age. Current trends indicate that individuals are more likely to work beyond the average

work life and therefore I find that the future income stream based on a later retirement age is, in

each case, appropriate. See Gates v. Syrian Arab Republic, 580 F. Supp. 2d 53, 70 (D.D.C. 2008).

CFES has included loss of household services in the loss analysis for the Estate of Ahmed Al-Taie.

Because the victim was helping with his parents’ needs, Dkt. 80-10 at 7, it is appropriate for CFES

to include this loss as a loss to the estate. CFES applied reasonable and generally accepted data

on household services and their value in making this computation and carried out the computation

through the statistical life span of Ahmed’s mother. Id. Accordingly, I find that this additional

loss is appropriate and reasonable in these circumstances. The CFES reports state that the future

values are discounted to present value. I therefore recommend adopting the economic loss

calculations provided by CFES as follows:

Estate of Jacob Fritz: $2,594,660 3

Estate of Bryan Chism: $1,059,404 4

Estate of Shawn Falter: $951,882 5

Estate of Ahmed Al-Taie: $1,513,717 6




3
  Report of CFES re Estate of Jacob Fritz, May 23, 2018 (Dkt. 71-10 at 8).
4
  Report of CFES re Estate of Johnathan Bryan Chism, May 23, 2018 (Dkt.74-9 at 8).
5
  Report of CFES re Estate of Shawn Falter, May 23, 2018 (Dkt. 77-17 at 8).
6
  Report of CFES re Estate of Ahmed Al-Taie, May 23, 2018 (Dkt. 80-10 at 8).




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II.        NON-ECONOMIC DAMAGES: ESTATES OF DIRECT VICTIMS

           In evaluating the recommended amount of ‘pain and suffering’ damages for the estates of

   the Direct Victims, I am guided by multiple prior decisions in this district awarding damages to

   victims of terrorism and recognizing that damages awards should be generally consistent to the

   extent the circumstances can be appropriately characterized as similar. See, e.g., Wamai v.

   Republic of Sudan, 60 F. Supp. 3d 84, 91 (D.D.C. 2014). As the courts have recognized, it is

   difficult to place a dollar value on pain and suffering in any situation. It can be particularly difficult

   in the case of terrorist attacks where one must often infer from autopsy evidence the nature of the

   pain and suffering inflicted while the victim was alive. Decisions in previous cases provide

   guidance, but, of course, the circumstances of each death are different and these differences must

   be taken into consideration. I start with certain guideposts:

           First, multiple cases in this district have recited a ‘baseline’ award for persons who are

   injured but not killed in terrorist attacks. That baseline amount – generally $5 million (see, e.g.,

   Wultz v. Islamic Republic of Iran, 864 F. Supp. 2d 24, 37-39 (D.D.C. 2012); Cohen v. Islamic

   Republic of Iran, 268 F. Supp. 3d 19, 24 (D.D.C. 2017) (“Cohen II”)) serves as a starting point –

   and is adjusted upward or downward as the condition of the victim warrants. It is appropriate to

   consider the amounts that have been awarded in the case of injury – which are based on physical

   and emotional pain and suffering and distress – in evaluating the pain and suffering and distress

   experienced by a decedent before death. There are multiple examples of awards greater than $5

   million: Cf., e.g., Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 55-56 (D.D.C. 2007)

  (“Peterson II”) (bomb survivor awarded $7 million in pain and suffering damages in addition to

  more than $1 million in lost wages after suffering “a torn ear, broken leg, damaged foot, . . . cuts

  from shrapnel from the attack[, with] lasting and severe psychological problems from the attack”);



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Massie v. Government of Democratic People’s Republic of Korea, 592 F. Supp. 2d 57, 77 (D.D.C.

2008) (awarding per diem amount of $3,350,000 for 335 days in captivity, plus $13,400,000 lump

sum for pain and suffering for each of three victims where one victim suffered beatings and torture

resulting in PTSD, ongoing pain, ringing in the ears and impotency, another victim suffered

beatings and torture resulting in PTSD and permanent injuries to his back, ankles, and knees and

ringing in his ears, and another victim suffered beatings, torture, and constant mental and

psychological terror on a daily basis, resulting in severe and permanent physical injuries, including

arthritis in his back and shoulders, deteriorating disks, and severe pain in his feet and ankles, as

well as PTSD).

       Second, courts have recognized that the fear and distress a decedent experienced knowing

that death is imminent in the context of a terrorist attack is a reasonable component of damages.

See Baker v. Socialist People’s Libyan Arab Jamahirya, 775 F. Supp. 2d 48, 81–82 (D.D.C. 2011)

(“Courts have been influenced not only by the length of time that the victim endured physical

suffering, but by the victim’s mental anguish stemming from the knowledge that death was

imminent.”); Kilburn v. Islamic Republic of Iran, 699 F. Supp. 2d 136, 157 (D.D.C. 2010) (Victim

was “entitled to additional compensation in the amount of $1,000,000 for the portion of his life

that he spent facing certain death alone”); Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78,

89 (D.D.C. 2002) (award of $500,000 to the estate of the executed victim “for the pain and

suffering he endured prior to being singled out for execution” and an additional $1 million for “the

several minutes of anguish and pain [the victim] endured as and immediately after being shot by

[a terrorist] and thrown from the [air]plane”).

       Third, while courts have considered duration of the pain and suffering in determining

damages for pain and suffering before death, duration of pain and suffering is not the sole relevant



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factor. Once there is evidence of conscious pain and suffering before death, the amount of damages

is based on multiple factors including the duration of the pain and suffering, the nature and extent

of the injuries, the fear and terror experienced by the victim, and the circumstances surrounding

the death. See Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 5, 8 (D.D.C. 2000) ($1

million for pain and suffering endured in the several minutes between the suicide bombing of a

passenger bus and the victim's death); Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 112-

13 (D.D.C. 2000) ($1 million for pain and suffering endured while victim of assassination fought

with his attacker, a period of less than four minutes); Peterson II, 515 F. Supp. 2d at 53, and Report

of Special Master Pursuant to Order of Reference Concerning Counts CXCVII-CC (197-200),

Peterson II Dkt 78 at 5-6 (award of $7 million for victim who was not held captive but suffered

burns and traumatic skull injury in an attack and remained alive for 7 days); Wultz, 864 F. Supp.

2d 24, 38 ($8 million awarded for victim injured in a bombing attack and who lived for four

weeks); Pugh v. Socialist People’s Libyan Arab Jamahiriya, 530 F. Supp. 2d 216, 221, 266

(D.D.C. 2008) ($18,000,000 in pain and suffering damages to victim who survived just a few

minutes after a plane bombing); Foley v. Syrian Arab Republic, 281 F. Supp. 3d 153, 156 (D.D.C.

2017) and Report of Special Master RE: Private First Class Kristian Menchaca, Foley Dkt 83 at 1

($30 million in pain and suffering damages where victim was captive for approximately three days

and suffered “various blunt force injuries, strangulation, and the removal of his eyes and tongue

before his death.”); Gates, 580 F. Supp. 2d at 72-74 (D.D.C. 2008) (in this extreme case, the Court

awarded $50,000,000 for pain and suffering to each of two victims who were publicly decapitated

– but slowly so that “each man suffered unimaginable mental and physical agony.”).




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       A.      Karbala Direct Victims

       The Plaintiffs have requested a pain and suffering award of $5 million for each of the three

victims of the Karbala attack (Fritz, Chism and Falter.) Each of these three victims was held

captive in a vehicle fleeing the site of the initial attack and suffered serious and painful injuries in

the period of approximately 2 to close to 3 hours. The nature and extent of the injuries indicates

that they were subjected to frequent or continuous abuse while captive and had every reason to be

in fear of imminent death for the entire period of captivity. The testimony detailing the sequence

and nature of injuries demonstrates that the captors inflicted maximum pain on each of the victims.

As members of the Armed Forces, they were well aware of the possibility of continued torture and

the potential for an excruciatingly painful death. In addition, the Kabala Direct Victims were held

in a moving vehicle by their captors and had no way of knowing how long they would be held or

where they were being taken. These circumstances would have contributed to the victims’ fear

and apprehension. The pain and suffering award must take into account all of these circumstances.

       The baseline amount of $5 million that is applied in analyzing injury cases is a reasonable

starting point. That amount has been applied to injuries that are far less serious than those

experienced by the Karbala Direct Victims. (I recognize that there is a distinction because the pain

and suffering award in cases of injured survivors of terrorist attacks is intended to account for the

expectation that the injuries will continue to affect the victim for some period of time.) See, e.g.,

Cohen II, 268 F. Supp. 3d at 25 ($5 million to victim of bus bombing “because injuries to her ears,

which are frequently infected, continue to impact her daily life. She was hospitalized for nine days

after the attack and still bears daily reminders of it in the form of scars on her face, legs, and

arms.”). While one could argue that the amount of damages for pain and suffering should be lower

in the case of the Karbala Direct Victims because the duration of pain and suffering was relatively



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short, the award must take into consideration the brutality of the abuse (gunshot wounds designed

to inflict maximum pain) and the fact that each victim was confronted with his captors and

experience terror and fear during the entire period of time between abduction and death. Taking

into account the “baseline” along with the range of damages provided in other cases, I recommend

a pain and suffering award of $5.5 million for the estates of each of Jacob Fritz, Bryan Chism and

Shawn Falter. This amount recognizes the extreme circumstances surrounding the deaths and that

the nature of the injuries causing pain and suffering in this case, while severe, are not as extreme

as the injuries in the cases that have awarded significantly higher amounts – such as Foley, 281 F.

Supp. 3d at 157 or Gates, 580 F. Supp. 2d at 72-74.

       B.      Estate of Ahmed Al-Taie

       The Plaintiffs have requested a pain and suffering award for the estate of Ahmed Al-Taie

of $10.74 million – equal to the sum of $10,000 for each day that they estimate Al-Taie was held

captive. The amount of $10,000 per day has been adopted by several courts in cases involving

lengthy captivity; Congress also adopted this amount in the Justice for United States Victims of

State Sponsored Terrorism Act (34 U.S.C. § 20144). See Hekmati v. Islamic Republic of Iran, 278

F. Supp. 3d 145, 163-64 (D.D.C. 2017) ($16.02 million for 1602 days of abusive captivity at

$10,000 per day); Moradi v. Islamic Republic of Iran, 77 F. Supp. 3d 57, 70 (D.D.C. 2015) ($1.68

million for 168 days of imprisonment); Stansell v. Republic of Cuba, 217 F. Supp. 3d 320, 346

(D.D.C. 2016) ($19.67 million for 1,967 days held hostage); Kilburn, 699 F. Supp. 2d at 156-57

($5.03 million for 503 days as hostage); Massie, 592 F. Supp. 2d at 77 ($3.35 million for 335 days

of imprisonment); Price III, 384 F. Supp. 2d at 134-35 ($1.05 million for 105 days of captivity);

Sutherland v. Islamic Republic of Iran, 151 F. Supp. 2d 27, 51 (D.D.C. 2001) ($23.54 million for

2,354 days of captivity); Anderson v. Islamic Republic of Iran, 90 F. Supp. 2d 107, 113 (D.D.C.



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2000) ($24.54 million for 2,454 days of captivity).

        The evidence indicates that Al-Taie was held captive for a substantial period of time –

two or three years - before his death and further indicates that he was subjected to abuse during

that time. The evidence at trial established that Ahmed was murdered by AAH in approximately

late 2009. Declaration of              , Ex. 76                           , Evidentiary Hearing,

April 13, 2018, Sealed Proceedings 15:11-16:8; accord Testimony of C. Mallak, Evidentiary

Hearing, April 13, 2018, (Dkt. 54) at 37-38 (concluding based on forensic evidence that

Ahmed Al-Taie was killed between February 22, 2009 and February 22, 2011). The Plaintiffs

assert that it is reasonable – indeed conservative – to assume that Ahmed was held in captivity

until the end of September 2009. Based on this assumption, Plaintiffs estimate that Ahmed was

held in captivity from at least October 23, 2006 – October 1, 2009, totaling approximately 1,074

days.

        Ahmed’s death was particularly painful. According to Dr. Mallak, because the 12 nerves

of the face do not emanate from the spinal cord, Ahmed would have been able to see, hear and

be able to feel his face after being shot through the neck until his death. Testimony of C.

Mallak, Evidentiary Hearing, April 13, 2018 (Dkt. 54), 38:18-39:8.

        Based on the testimony, it is reasonable to calculate damages on the assumption – as

Plaintiffs suggest – that Ahmed was held captive for 1,074 days. Given the evidence of physical

pain and suffering and the obvious mental pain and suffering that Ahmed would have experienced,

the case law that applies a damages figure of $10,000 per day of captivity is reasonable and

applicable. Accordingly, I recommend an award of $10,740,000 for the estate of Ahmed Al-Taie

for the pain and suffering he experienced as a captive.




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III.          NON-ECONOMIC DAMAGES: SOLATIUM FOR FAMILY MEMBERS

              Section 1605A(c) expressly provides for solatium damages. Such damages may be

       awarded to immediate family members of the victims. Solatium damages provide compensation

       for mental anguish, grief, and loss of society and comfort. See Valore, 700 F. Supp. 2d at 85

       (“Under the FSIA, a solatium claim is indistinguishable from an IIED claim. Solatium is awarded

       to compensate the the [sic] mental anguish, bereavement, and grief that those with a close personal

       relationship to a decedent experience as the result of the decedent’s death, as well as the harm

       caused by the loss of the decedent’s society and comfort.”) (internal citations, quotation marks,

       and alterations omitted)).

              Courts in this Circuit have previously “adopted the strict meaning of ‘immediately family,’

       defined as one’s spouse, parents, siblings, and children.” Estate of Heiser v. Islamic Republic of

       Iran, 659 F. Supp. 2d 20, 28 (D.D.C. 2009) (“Heiser II”) (citing Jenco v. Islamic Republic of Iran,

       154 F. Supp. 2d 27, 36 n.8 (D.D.C. 2001), aff'd sub nom. Bettis v. Islamic Republic of Iran, 315

       F.3d 325 (D.C. Cir. 2003)). That meaning does include, however, immediate family members of

       half blood, as “[s]iblings of half-blood to the servicemen in this case are presumed to recover as a

       full-blood sibling would[.]” Peterson II, 515 F. Supp. 2d at 52. See also Valore, 700 F. Supp. 2d

       at 79 (quoting Peterson II, 515 F. Supp. 2d at 52); Murphy v. Islamic Republic of Iran, 740 F.

       Supp. 2d 51, 75, 79 (D.D.C. 2010) (half-blood siblings are presumed to recover as would a full

       blood sibling); accord Spencer v. Islamic Republic of Iran, 71 F. Supp. 3d 23, 27 (D.D.C. 2014)

       (“Half-blood siblings are presumed to recover at the same level as full-blood siblings would, unless

       the evidence indicates that such individuals did not have a close relationship with the victim”)

       (internal citation omitted).




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       In general, there is a presumption that immediate family members suffer grief and

emotional injury as a result of a terrorist attack on another family member. See Kaplan v.

Hezbollah, 213 F. Supp. 3d 27, 38 (D.D.C. 2016) (“The guidelines emerging from prior decisions

begin with the ‘presumption’ that family members in direct lineal relationship ‘suffer compensable

mental anguish and testimony proving a close relationship will usually be sufficient to sustain an

award of solatium damages.’”) (quoting Kim v. Democratic People’s Republic of Korea, 87 F.

Supp. 3d 286, 290 (D.D.C. 2015)) (internal alterations omitted); Roth, 78 F. Supp. 3d at 403

(“Courts may presume that those in direct lineal relationships with victims of terrorism suffer

compensable mental anguish. As for siblings, testimony proving a close emotional relationship

will usually be sufficient to sustain an award of solatium damages.”) (citations omitted).

       A close relative need not be present at the attack in order to be eligible for solatium

damages.    See Cohen v. Islamic Republic of Iran, 238 F. Supp. 3d 71, 84 (D.D.C. 2017)

(“Cohen I”) (“Solatium claims are typically brought by family members who were not present or

injured themselves.”); id. at 85 (“because of the appalling and extreme nature of terrorist attacks,

courts in this district have generally held that a defendant is liable to the victim’s family even if

they were not physically present during the attack as long as there is some evidence of that they

suffered mental anguish and trauma as a result of it”) (citing Braun, v. Islamic Republic of Iran,

228 F. Supp. 3d 64, 81-83 (D.D.C. 2017); Ben–Rafael v. Islamic Republic of Iran, 540 F. Supp.

2d 39, 56–57 (D.D.C. 2008)).

       Accordingly a plaintiff who provides credible testimony about the effect on him or her of

the attack on a family member is eligible for an award of solatium damages – provided that the

relationship is sufficiently close. See Moradi, 77 F. Supp. 3d at 72-73 (declaration that victim’s

detention and torture caused claimant significant “mental anguish” and her and victim to become



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estranged supported awarding solatium damages consistent with framework of Estate of Heiser v.

Islamic Republic of Iran, 466 F. Supp. 2d 229, 269 (D.D.C. 2006) (“Heiser I”)).

       A.      Solatium Damages for Step-Parents and Step-Siblings

       The concept of immediate family may include step-parents and step-siblings, provided that

these individuals functioned as family members equivalent to biological parents or siblings. See

Bettis, 315 F.3d a t 337 (noting that non-family members have been recognized as “immediate

family members” for solatium damages when they “were members of the victim's household, and

they were viewed as the functional equivalents of immediate family members.”); Valore, 700 F.

Supp. 2d at 79-80 (finding non-adoptive step-father entitled to damages where the step-father

considered victim to be his son and vice versa, and where the victim and step-father acted as a

natural family); Heiser II, 659 F. Supp. 2d at 29 (recognizing non-adoptive step-fathers as

functionally the same as biological fathers where they lived in the same household while the

victims were minors and the step-fathers treated the children as their own sons financially,

emotionally and socially.).

               1.      Determining the Amount of Solatium Damages: General Approach
                       and Factors

       In evaluating the appropriate amount of compensatory damages for family members, I am

again guided by prior decisions. There is a significant body of case law in this Circuit addressing

solatium damages in cases seeking compensation for death caused by terrorist attacks. In Heiser

I, the court conducted a survey of other decisions of the District Court for the District of Columbia

and found that “courts typically award between $8 million and $12 million for pain and suffering

resulting from the death of a spouse[,] approximately $5 million to a parent whose child was

killed[,] and approximately $2.5 million to a plaintiff whose sibling was killed.” 466 F. Supp. 2d




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at 269 (footnotes omitted). These amounts, however, should be viewed as guideposts – and they

are neither mandatory nor applicable in all cases. See Fraenkel v. Islamic Republic of Iran,

Ministry of Foreign Affairs, et al., 892 F.3d 348, 361-62 (D.C. Cir. 2018). Courts typically have

awarded higher amounts where there are more extreme circumstances – such as where a family

member is under medical care for depression or where the testimony makes clear that the family

member continues to experience and feel the loss and change or where the family member is aware

that the victim suffered horribly while captive. See, e.g., Valore, 700 F. Supp. 2d at 85–86;

Stethem, 201 F. Supp. 2d at 90-91 (courts have acknowledged that anguish is exacerbated when

family members live with the knowledge of the suffering of their loved ones.) 7 As expressed by

the court in Oveissi v. Islamic Republic of Iran, the solatium award is determined based on multiple

factors – including “evidence establishing an especially close relationship between the plaintiff

and decedent, particularly in comparison to the normal interactions to be expected given the

familial relationship; medical proof of severe pain, grief or suffering on behalf of the claimant;

and circumstances surrounding the terrorist attack which made the suffering particularly more

acute or agonizing.” 768 F. Supp. 2d 16, 26-27 (D.D.C. 2011) (“Oveissi I”). 8 The award is thus




7
  Plaintiffs have proposed that the Heiser amounts should be revised to account for inflation. I have not
conducted this mathematical exercise. As the case law indicates, each award is based on the specific
relevant facts and circumstances. It is, however, appropriate to note that the Heiser survey was compiled
over 12 years ago – in 2006.
8
  Accord, Stethem, 201 F. Supp. 2d at 89-90 (citing Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 30-
31 (D.D.C. 1998): In calculating damages for loss of solatium in the case of a deceased family member,
this district court has considered a variety of factors to include: (1) whether the decedent’s death was sudden
and unexpected; (2) whether the death was attributable to negligence or malice; (3) whether the claimants
have sought medical treatment for depression and related disorders resulting from the decedent’s death; (4)
the nature (i.e., closeness) of the relationship between the claimant and the decedent; and (5) the duration
of the claimants’ mental anguish in excess of that which would have been experienced following the
decedent’s natural death.



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based on the facts of each case and must take into consideration the multiple relevant factors and

the evidence provided.

       Here, each Family Member has provided compelling testimony about their close

relationship with the Direct Victims. Accordingly, each of the Family Member Victims is entitled

to solatium damages. Following is a discussion of my recommendations regarding solatium

damages and the basis for each proposed award.

               2.     Family of Jacob Fritz

       The testimony establishes that Jacob Fritz had a close relationship with his parents and

siblings. The testimony further establishes that both parents and both siblings have suffered a

tremendous loss and that the death of Jacob created a void in their lives and has had a significant

effect on each of them. The testimony indicates that Jacob’s father, Lyle, suffered adverse health

effects stemming from his grief and that the three remaining family members continue to

experience grief and loss. Ethan Fritz, who was only 14 when his brother died has been particularly

affected both by the loss and by the manner in which he learned of his brother’s death.

Accordingly, based on the record, which establishes devastating grief and loss – continuing to this

day – more than 10 years after the event – and taking into consideration awards in other cases, I

recommend solatium awards of $6 million each for Noala Fritz and, the Estate of Lyle Fritz. I

recommend a solatium award for Daniel Fritz in the amount of $3 million and a solatium award of

$3.5 million for Ethan Fritz to account for the additional anguish he experienced for the

circumstances under which he learned of his brother’s death.

               2.     Family of Johnathan Bryan Chism

       The testimony establishes the close relationship between Bryan and his parents Elizabeth

and Danny and his sister Julie. Elizabeth’s testimony demonstrates that she suffers ongoing



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depression and grief – at times requiring medication. Danny’s testimony demonstrates that he

suffers from ongoing grief and depression and that his life has been profoundly affected by the

loss of his son. The testimony of Julie Chism corroborates the devastating ongoing impact Bryan’s

death has had on her parents. Julie Chism continues to suffer from the loss of her brother: she has

been diagnosed with PTSD and she attributes her failed marriage in part to her grief over Bryan’s

death. She testified that she misses Bryan daily. Accordingly, I recommend solatium awards for

Elizabeth and Danny Chism in the amount of $6 million and a solatium award in the amount of

$3.5 million for Julie Chism. The proposed award for Julie Chism reflects the circumstances under

which she learned of her brother’s death (when she was stationed in the same hospital to which his

body was transported) and the documented severe ongoing distress. See, e.g., Spencer, 71 F. Supp.

3d at 29-30 (upward departure warranted when parents were erroneously told that son was killed,

when he was not, which was legally attributable to the underlying acts of terror); Estate of Brown

v. Islamic Republic of Iran, 872 F. Supp. 2d 37, 43-44 (D.D.C. 2012) (upward departure to $3

million warranted when sister of victim suffered “nervous breakdown” following brother’s death

and was prescribed medication for a year).

       Vanessa Chism is Bryan’s step-mother. The testimony establishes that Bryan and Vanessa

lived in the same household for portions of a three-year period. Bryan was still a minor when he

first met Vanessa but was over 18 for a period of the time he lived in the same household. The

testimony makes clear that Vanessa treated Bryan as, and considered Bryan to be, one of her sons.

The testimony indicates that Bryan confided in Vanessa and sought her advice. The record thus

establishes that Bryan’s relationship to Vanessa was functionally equivalent to that of “son.”

Accordingly, Vanessa is entitled to solatium damages. Plaintiffs have proposed an award that is

approximately 25 percent of the amount that they propose for other parents of the Karbala Direct



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Victims. While it is not clear that the duration of the relationship should matter, there is a

suggestion in the case law that the age at which the relationship commenced could be a relevant

factor. See Heiser II, 659 F. Supp. 2d at 29 (noting that the children were still minors at the time

they lived in the household of the step-parents.) It would not be unreasonable to award a higher

amount to Vanessa, but in light of Vanessa’s testimony – which indicates that while she feels a

loss, the focus of her concern is the effect that Bryan’s death has had on her husband – I find the

Plaintiffs’ proposed damages amount to be reasonable and appropriate. Accordingly I recommend

a solatium award for Vanessa Chism of $1.5 million.

               3.      Family of Shawn Falter

        Solatium Damages for Shawn Falter’s Father and Step-Mother. The evidence shows that

Shawn Falter’s father, Russell J. Falter, was profoundly affected by the loss of his son. Russell’s

own testimony and that of several other family members detailed his self-destructive behavior and

his deep depression as a result of Shawn’s death. Russell continues to suffer from the loss. Linda

Falter is Shawn’s step-mother. Linda Falter functioned as Shawn’s mother – fulfilling all aspects

of such a relationship – from the time Shawn was approximately four years old until his death.

Linda Falter is entitled to solatium damages under the standards set forth in the relevant case law.

Linda Falter testified about the devastating effects of Shawn’s death and her long standing grief.

I recommend solatium damages for Linda Falter and Russell J. Falter in the amount of $6 million

each.

        Solatium Damages for Shawn Falter’s Half-Siblings. Shawn lived in the same household

with all of his half-siblings for at least some period of time. When they were not in the same

household, they saw each other regularly and participated in typical family events.           They

functioned together as a cohesive family. Shawn was considered the ‘little brother’ by his half-



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siblings and each of them cared for and helped Shawn as he grew up in various ways. The evidence

fully supports an award of solatium damages for Marjorie Falter, Russell C. Falter, John Sackett

and Jason Sackett. Marjorie, Russell C., John and Jason each testified to their familial relationship

with Shawn when he was a child and to the depression, loss and grief each experienced and

continue to experience as a result of Shawn’s death. I recommend solatium damages awards for

each of Marjorie Falter, Russell C. Falter, John Sackett and Jason Sackett in the amount of $3

million.

       Solatium Damages for Shawn Falter’s Step-Siblings. Each of Shawn Falter’s four step-

siblings - Marsha Novak, David Lucas, Timothy Lucas and Andrew Lucas – testified about their

familial relationship with Shawn and the effect of his death. Marsha Novak, David Lucas and

Timothy Lucas all lived in the same household with Shawn Falter for some period of time. Andrew

Lucas was an adult when his mother married Russell Falter. Andrew testified that when he was

home on leaver, he cared for Shawn and treated him as his little brother. The testimony of each of

the step-siblings and of other family members establishes that Shawn Falter had a normal sibling

relationship with each of his step-siblings. The testimony shows that Shawn was particularly close

to David Lucas – who was relatively close in age to Shawn. Each of the step-siblings has testified

to the loss, grief, anger and depression they felt and continue to experience as a result of Shawn’s

death. The testimony establishes the type of sibling relationship that is sufficient to permit an

award of solatium damages. Accordingly, I recommend a solatium award for each of Marsha

Novak, David Lucas, Timothy Lucas and Andrew Lucas in the amount of $3 million.




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                  4.      Recommended Approach for Solatium Award for Family of Ahmed
                          Al-Taie

          The Al-Taie family waited for over five years to learn the fate of their son and brother. The

   anguish of not knowing Ahmed’s fate, of waiting every day for news, of seeking out information

   and pleading with the terrorists for mercy is indescribable. Courts have recognized the extreme

   suffering experienced by close family members in situations of long term captivity. See, e.g.,

   Foley, 281 F. Supp. 3d at 155-56 and Report of Special Master RE: Staff Sergeant Keith Matthew

   Maupin, Foley Dkt 82 at 25-26 (solatium award of $7 million for parents of U.S. service member

   abducted and held for four years where the special master had found that the pain and suffering

   was exacerbated by the fact that the parents did not know their son’s fate.) The testimony of the

   Al-Taie family demonstrates their close relationship with Ahmed and the extreme and continuing

   grief they have experienced as a result of his death and more significantly, the manner of his death.

   I recommend a solatium award of $8 million for Nawal and Kousey Al-Taie (which is comparable

   to the award in Foley taking into account the longer period of captivity in the case of Ahmed Al-

   Taie) and $4.5 million for Hathal Al-Taie (which is a comparable adjustment of the baseline

   amount for solatium awards for siblings.).

IV.       PREJUDGMENT INTEREST

          Plaintiffs have requested an award of prejudgment interest on each of the awards, and the

   complaint in this case specifically seeks prejudgment interest. Amended Compl. (Dkt 9) at 22, 24,

   25, 27, 28, 29, 30, 31, 32. It is within the Court’s discretion to award prejudgment interest from

   the date of the attack until the date of final judgment. Baker, 775 F. Supp. 2d at 86. “The decision

   to award prejudgment interest, as well as how to compute that interest, rests within the discretion

   of the court, subject to equitable considerations.” Id. “Courts in this Circuit have awarded




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prejudgment interest in cases where plaintiffs were delayed in recovering compensation for their

injuries—including, specifically, where such injuries were the result of targeted attacks perpetrated

by foreign defendants.” Id. (quoting Pugh, 530 F. Supp. 2d at 263). The purpose of prejudgment

interest is to provide full compensation – recognizing the loss of the time value of money where

compensation is delayed. It also has the effect of ensuring that the defendant does not profit from

the delay in compensation.

       Several decisions in this Circuit have held that prejudgment interest is appropriate on pain

and suffering and solatium awards. See Wamai, 60 F. Supp. 3d at 98; Khaliq v. Republic of Sudan,

33 F. Supp. 3d 29, 34 (D.D.C. 2014); Amduso v. Republic of Sudan, 61 F. Supp. 3d 42, 53 (D.D.C.

2014); Osongo, 60 F. Supp. 3d at 153; Mwila v. Islamic Republic of Iran, 33 F. Supp. 3d 36, 46

(D.D.C. 2014); Owens v. Republic of Sudan, 71 F. Supp. 3d 252, 261 (D.D.C. 2014); Baker, 775

F. Supp. 2d at 86; Belkin, 667 F. Supp. 2d at 24. As the court in Wamai reasoned:

       Awards for pain and suffering and solatium are calculated without reference to the
       time elapsed since the attacks. Because plaintiffs were unable to bring their claims
       immediately after the attacks, they lost use of the money to which they were entitled
       upon incurring their injuries. Denying prejudgment interest on these damages
       would allow defendants to profit from the use of the money over the last fifteen
       years. Awarding prejudgment interest, on the other hand, reimburses plaintiffs for
       the time value of money, treating the awards as if they were awarded promptly and
       invested by plaintiffs.

60 F. Supp. 3d at 98. See also Baker, 775 F. Supp. 2d at 86 (“Prejudgment interest is entirely

appropriate in this case, and necessary to fully compensate the victims for the injuries they

sustained as a result of Syria’s material support of ANO. Such awards compensate the victims for

any delay due to litigation, and prevent Syria from profiting from its terrorist attacks.”); Estate of

Doe v. Islamic Republic of Iran, 943 F. Supp. 2d 180, 184 n.1 (D.D.C. 2013) ($5 million baseline

award for pain and suffering calibrated to compensate for their “physical injuries and emotional




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distress without considering the length of time elapsed since the attack; the Court would use a $5

million baseline without adding interest had this litigation taken place in the months after the

attacks. But plaintiffs were unable to bring their claims immediately after the attacks, and have

hence lost use of the money to which they were entitled upon incurring their injuries. Denying

prejudgment interest on these damages would allow defendants to profit from the use of the money

over the last three decades.”).

       Several of these decisions awarding such prejudgment interest have found that interest at

the prime rate is appropriate. See Wamai, 60 F. Supp. 3d at 98; Khaliq, 33 F. Supp. 3d at 34;

Owens, 71 F. Supp. 3d at 262. As explained by the court in Amduso in calculating interest using

the prime rate for each year:

       The D.C. Circuit has explained that the prime rate—the rate banks charge for short-
       term unsecured loans to creditworthy customers—is the most appropriate measure
       of prejudgment interest. Although the prime rate, applied over a period of several
       years, can be measured in different ways, the D.C. Circuit has approved an award
       of prejudgment interest at the prime rate for each year between the accident and the
       entry of judgment. Using the prime rate for each year is more precise than, for
       example, using the average rate over the entire period.

61 F. Supp. 3d at 53 (citing Forman v. Korean Air Lines Co., 84 F.3d 446, 450 (D.C. Cir. 1996))

(internal citations and quotation marks omitted). But see Belkin, 667 F. Supp. 2d at 24 (awarding

prejudgment interest on solatium claim computed at a rate of six percent per annum on a simple

interest basis from date of incident to present); Reed, 845 F. Supp. 2d at 215 (prejudgment interest

computed at a rate of six percent per annum on a simple interest basis).

       I note, for the Court’s consideration, that some courts have declined to issue such

prejudgment interest on pain and suffering or solatium awards. See Wultz, 864 F. Supp. 2d at 42-

43 (delays in case were not significant and “in determining the solatium, pain and suffering, and

economic loss awards in this case, the Court has attempted to fully compensate plaintiffs’ through



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today’s date” and thus finds no equitable grounds for awarding prejudgment interest; “Whether to

award prejudgment interest is a question that rests within this Court’s discretion, subject to

equitable considerations.… Because this Court has applied the framework in Heiser to its

calculation of solatium damages, prejudgment interest is not appropriate for these awards.”);

Estate of Brown, 872 F. Supp. 2d at 45 (stating “[w]hen this Court applies the Heiser and Peterson

II damages framework, it does not typically award prejudgment interest” and denying request for

prejudgment interest in case awarding pain and suffering and solatium damages where significant

portion of delay was caused by plaintiffs’ failure to timely submit necessary documents to the

special master); Wyatt v. Syrian Arab Republic, 908 F. Supp. 2d 216, 232 (“In this case, pain and

suffering and solatium damages are both designed to be fully compensatory. Prejudgment interest

is not appropriate and will be denied.”).

       For example, in Thuneibat, the court stated that “nonpecuniary damages, such as solatium

damages, do not typically require prejudgment interest because they are ‘designed to be fully

compensatory.’” 167 F. Supp. 3d at 54 (citations omitted). The court noted that while some courts

have awarded prejudgment interest on nonpecuniary awards, noting the loss of the use of money

had the plaintiffs been able to bring the suit closer to the triggering event, there was no evidence

that the delay between when the 2005 terrorist attacks occurred and 2012 (when the instant suit

was filed) “was due to any nefarious interference by the defendants or anyone else” and, therefore,

“the solatium damages awarded are complete and prejudgment interest is not necessary to make

the plaintiffs whole.” Id. at 54-55. See also Roth, 78 F. Supp. 3d at 407 (“the Court does not

award prejudgment interest on solatium damage awards that are based on the Heiser framework.”);

Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d 44, 59 (D.D.C. 2012) (“Oveissi II”) (“when

this Court applies the Heiser damages framework—as it did in the underlying solatium award



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here—it has consistently refused to award prejudgment interest.”) (citations omitted); Oveissi I,

768 F. Supp. 2d at 30 n.12 (declining to award prejudgment interest on solatium damages).

       I have provided a calculation of prejudgment interest in the chart set forth below for the

following components of damages: (1) the “past” economic loss of each of the Direct Victims

(there is no prejudgment interest on the future economic loss – which is an amount that is expressed

in present value); (2) the solatium damages for each of the Family Members; and (3) the pain and

suffering amounts proposed for each of the Direct Victims. The calculation applies the prime rate

for each year (or portion of year) between the date of the abductions and the end of August 2018.

Should the date of final judgment occur in the future, it is possible to extend the computations to

account for the additional period of time.

       I have calculated prejudgment interest at the average annual prime rate in each year from

the date of the respective attacks (January 20, 2007 for the Karbala Direct Victims and October

23, 2006 for Baghdad Direct Victim) through August 2018. See Bd. of Governors of the Fed.

Reserve Sys. Historical Data, available at

https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15 (last visited August 11,

2018). The annual prime rate for 2018 is not available at this point, so the rate applied is the

current rate. The rates applied are as follows:

2006    7.96%
2007    8.05
2008    5.09
2009    3.25
2010    3.25
2011    3.25
2012    3.25
2013    3.25
2014    3.25
2015    3.26
2016    3.51



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2017    4.1
2018    5

       Consistent with Amduso, 61 F. Supp. 3d at 53-54, a multiplier must be used to account for

the change in rates over time. To calculate the multiplier, I multiplied $1.00 by the prime rate in

2006 (for the Baghdad Direct Victim) or 2007 (for the Karbala Direct Victims), and then multiplied

the resulting product by the percentage of the days of the year remaining for such year as of the

date of the respective attacks. I then added that product to $1.00. Next, I multiplied that amount

by the prime rate the following year and added that amount. Continuing this iterative process

through August 2018 yields a multiplier of 1.58 for the Karbala Direct Victims and 1.61 for the

Baghdad Direct Victim.




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                                  SUMMARY OF RECOMMENDATIONS

                   Pain and Suffering –      Prejudgment       Economic   Prejudgment   Total         Total With
                   Physical Injuries and     Interest on       Loss       Interest on   Without       Prejudgment
                   Emotional/Psychological   Pain and                     Past          Prejudgment   Interest
                   Distress Damages /        Suffering /                  Economic      Interest
                   Solatium Damages          Solatium                     Loss
                                             Damages
Estate of Jacob    $5,500,000                $3,163,996        $2,594,660 $309,000      $8,094,660    $11,567,657
Fritz
Noala Fritz        $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Estate of Lyle     $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Fritz
Daniel Fritz       $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Ethan Fritz        $3,500,000                $2,013,452                                 $3,500,000    $5,513,452
Estate of          $5,500,000                $3,163,996        $1,059,404 $134,147      $6,559,412    $9,857,555
Johnathan
Bryan Chism
Elizabeth          $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Chism
Danny Chism        $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Vanessa Chism      $1,500,000                $862,908                                   $1,500,000    $2,362,908
Julie Chism        $3,500,000                $2,013,452                                 $3,500,000    $5,513,452
Estate of          $5,500,000                $3,163,996        $951,882   $130,133      $6,451,882    $9,746,012
Shawn Falter
Russell J.         $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Falter
Linda Falter       $6,000,000                $3,451,632                                 $6,000,000    $9,451,632
Marjorie           $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Falter
Russell C.         $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Falter
John Sackett       $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Jason Sackett      $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Marsha Novak       $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
David Lucas        $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Tim Lucas          $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Andrew Lucas       $3,000,000                $1,725,816                                 $3,000,000    $4,725,816
Estate of          $10,740,000               $6,503,398        $1,513,717 $286,301      $12,061,968   $18,851,667
Ahmed Al-Taie
Kousay Al-         $8,000,000                $4,844,244                                 $8,000,000    $12,844,244
Taie
Nawal Al-Taie      $8,000,000                $4,844,244                                 $8,000,000    $12,844,244
Hathal Taie        $4,500,000                $2,724,887                                 $4,500,000    $7,224,887




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                                            Respectfully submitted



                                            By: /s/ Deborah E. Greenspan
                                            Deborah E. Greenspan, Esq.
                                            Special Master
Dated:        August 13, 2018




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